 Case 2:19-cv-11045-SJM-MKM ECF No. 1 filed 04/10/19                     PageID.1    Page 1 of 6



                              UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF MICHIGAN
                                   NORTHERN DIVISION


 ALLSTATE INSURANCE COMPANY, an                        )
                                                           Case No.   19-cv-11045
 Illinois Corporation, as Subrogee of Donald and       )
 Marie Griggs                                          )
                                                       )   Hon.
 Plaintiff,                                            )
                                                       )
         v.                                            )
                                                       )
 GENERAL ELECTRIC COMPANY, a New                       )   JURY DEMANDED
 York Corporation                                      )
                                                       )
 Defendants.                                           )


                                            COMPLAINT

        Plaintiff, ALLSTATE INSURANCE COMPANY, as a Subrogee of Donald and Marie

Griggs, by and through its attorneys, COZEN O’CONNOR, complains of Defendant, GENERAL

ELECRTRIC COMPANY (“GE”) and for its Complaint states the following:

                                          JURISDICTION

        1.         The Subject Matter Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §

1332 as Plaintiff, ALLSTATE INSURANCE COMPANY, and Defendant GE, are citizens of

different states, are diverse parties, and the amount in controversy exceeds $75,000.

        2.         Venue is proper in the Eastern District of Michigan pursuant to 28 U.S.C. §

1391(b)(2) & (b)(3) as the events or omissions giving rise to this claim occurred in Commerce

Township, Michigan, and Defendants do business throughout the State of Michigan and

specifically throughout the Eastern District of Michigan.




LEGAL\40673062\1
 Case 2:19-cv-11045-SJM-MKM ECF No. 1 filed 04/10/19                      PageID.2      Page 2 of 6



                                               PARTIES

        3.         ALLSTATE INSURANCE COMPANY (“ALLSTATE”), as a subrogee of Donald

and Marie Griggs, is an insurance company licensed in the State of Illinois and engaged in the

business of insuring properties throughout the United States including Michigan, with its principal

place of business in Northbrook, Illinois, and is a citizen of the State of Illinois.

        4.         Upon information and belief, GE is a New York corporation with its principal place

of business located in the state of Massachusetts, and is a citizen of the States of New York and

Massachusetts.

        5.         Upon information and belief, and at all times relevant, GE was engaged in the

business of designing, manufacturing, supplying, distributing, and selling consumer appliances,

including clothes washing machines, throughout the United States, including in the state of

Michigan, under the brand name “GE.”

                                                FACTS

        6.         At all times relevant, Donald and Marie Griggs (the “Griggs” or the “Insureds”)

owned a residence located at 2907 Windwood Court, Commerce Township, Michigan, which was

insured by ALLSTATE for, among other things, damage caused by smoke and fire.

        7.         In or around 2010, and prior to April 14, 2017, Allstate’s Insureds purchased a GE

brand clothes washing machine (Model Number: GTWN2800DWN) (hereinafter “Washing

Machine”), and used it in their home.

        8.         Upon information and belief, GE designed, manufactured, supplied, distributed,

and sold into the stream of commerce the Washing Machine.

        9.         At all relevant times, the Washing Machine was used for the intended purpose of

washing clothes within the Griggs’ home and was used in a manner reasonably foreseeable to GE.



                                                   2
LEGAL\40673062\1
 Case 2:19-cv-11045-SJM-MKM ECF No. 1 filed 04/10/19                      PageID.3     Page 3 of 6



        10.        On April 14, 2017, a fire caused significant property damage to the Griggs’ home

(the “Fire”).

        11.        A fire origin and cause investigation revealed that the Fire originated from within

the Washing Machine.

        12.        Pursuant to their insurance policy with ALLSTATE, the Griggs submitted a claim

to ALLSTATE seeking payment and/or reimbursement for property damage that resulted from the

Fire.

        13.        ALLSTATE paid amounts in excess of $75,000, to or on behalf of the Griggs in

connection with the claim of loss submitted by the Griggs for property damage.

        14.        To the extent of payments made to its Insureds, ALLSTATE is contractually and

equitably subrogated to all rights, remedies, and causes of action accruing to the Griggs and against

the Defendant GE.

                                      COUNT I - NEGLIGENCE

        15.        ALLSTATE re-alleges and incorporates all preceding paragraphs as if they were

set forth and fully pled herein.

        16.        At all relevant times, GE has a duty to exercise reasonable care in the design,

manufacture, testing, inspection, supply, and distribution of the Washing Machine, including a

duty to refrain from placing defective and unreasonably dangerous products from the stream of

commerce.

        17.        At all relevant times, GE had a duty to warn consumers about defective and

unreasonably dangerous products in the stream of commerce.




                                                    3
LEGAL\40673062\1
 Case 2:19-cv-11045-SJM-MKM ECF No. 1 filed 04/10/19                      PageID.4     Page 4 of 6



        18.        At all relevant times, GE had a duty to issue a recall for, and remove from the

stream of commerce, defective and unreasonably dangerous products which it manufactured and

placed into the stream of commerce.

        19.        Upon information and belief, Defendant GE’s negligent acts and omissions include,

but are not limited to:

                   a. carelessly and negligently designed and manufactured the Washing Machine in
                      such a way as to cause a malfunction and ignite a fire;

                   b. carelessly and negligently marketed, distributed, and sold the Washing Machine
                      for the purpose of washing clothing in a residential setting, although GE knew,
                      or in the exercise of ordinary and reasonable care, should have known, that such
                      a use presented a fire hazard.

                   c. carelessly and negligently designed, manufactured, marketed, distributed, and
                      sold the Washing Machine for the purpose of washing clothing in a residential
                      setting, though it had been manufactured and designed with material that were
                      inadequate for such use and that presented a fire hazard;

                   d. carelessly and negligently designed, manufactured, marketed, distributed, and
                      sold the Washing Machine for the purpose of washing clothing in a residential
                      setting, though the Washing Machine was unsafe and dangerous when used for
                      this intended application;

                   e. carelessly and negligently designed, manufactured, marketed, distributed, and
                      sold the Washing Machine for the purpose of washing clothing in a residential
                      setting, without conducting adequate testing to determine if the product was
                      safe for this intended application;

                   f. carelessly and negligently failed to adequately instruct or warn users that the
                      Washing Machine posed a fire risk when used for the purpose of washing
                      clothing in a residential setting;

                   g. carelessly and negligently marketed, distributed, and sold the Washing Machine
                      without any warning that the Washing Machine posed a fire risk when used for
                      the intended purpose of washing clothing in a residential setting;

                   h. failing to issue a recall for the Washing Machine based on its unreasonably
                      dangerous condition; and

                   i. otherwise being careless and negligent in marketing, designing, manufacturing,
                      assembling, distributing and selling the subject Washing Machine.


                                                    4
LEGAL\40673062\1
 Case 2:19-cv-11045-SJM-MKM ECF No. 1 filed 04/10/19                       PageID.5     Page 5 of 6




        20.        As a direct and proximate result of one or more of GE’s negligent acts or omissions,

the Washing Machine failed, ignited, and caused the Fire

        21.        As a proximate result of the Fire caused by GE’s negligence, the Griggs suffered

significant smoke and fire-related property damage to their home and other property located

therein, in addition to related expenses.

        WHEREFORE, Plaintiff, ALLSTATE INSURANCE COMPANY, as a Subrogee of

Donald and Marie Griggs, respectfully requests that judgment be entered in its favor and against

Defendant GENERAL ELECTRIC COMPANY on this Count I, in an amount to be proven at trial

together with costs, interest and any other relief the Court deems equitable and just.

                        COUNT II – BREACH OF IMPLIED WARRANTY

        22.        ALLSTATE re-alleges and incorporates all preceding paragraphs as if they were

set forth and fully pled herein.

        23.        At the time GE marketed, sold, and distributed the Washing Machine, GE was

aware of the use for which the Washing Machine was intended and impliedly warranted the

product to be of merchantable quality, safe, fit, and effective for such use.

        24.        GE knew, or had reason to know, that the Griggs would rely on GE’s judgment and

skill in providing the Washing Machine for its intended use.

        25.        The Griggs reasonably relied upon the skill and judgment of GE as to whether the

Washing Machine was of merchantable quality, safe, fit, and effective for its intended use.

        26.        Contrary to such implied warranty, the Washing Machine was not of merchantable

quality or safe or fit or effective for its intended use because the product was, at all relevant times,




                                                    5
LEGAL\40673062\1
 Case 2:19-cv-11045-SJM-MKM ECF No. 1 filed 04/10/19                     PageID.6      Page 6 of 6



unreasonably dangerous, defective, unfit, and ineffective for the ordinary purposes for which the

Washing Machine was used.

        27.        As a direct and proximate result of GE’s breach of implied warranty, the Washing

Machine failed; and that failure caused the Fire.

        28.        As a proximate result of the Fire caused by the Washing Machine, the Griggs

suffered significant smoke and fire-related property damage to their home and other property

located therein, in addition to related expenses.

        WHEREFORE, Plaintiff, ALLSTATE INSURANCE COMPANY, as a Subrogee of

Donald and Marie Griggs, respectfully requests that judgment be entered in its favor and against

Defendant GENERAL ELECTRIC COMPANY on this Count II, in an amount to be proven at

trial, together with costs, interest and any other relief the Court deems equitable and just.



Dated this 10th day of April, 2019.

                                                        COZEN O’CONNOR

                                                         s/ Philip T. Carroll
                                                        Philip T. Carroll (P54383)
                                                        Cozen O’Connor
                                                        333 W. Wacker Drive, Suite 1900
                                                        Chicago, IL 60606
                                                        Telephone: (312) 382-3100
                                                        Fax: (312) 382-8910
                                                        pcarroll@cozen.com




                                                    6
LEGAL\40673062\1
